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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                     )
                                              )
                 v.                           )       MJ No. 19-6087-MPK
                                              )
FELICITY HUFFMAN,                             )
           Defendant                          )

                      NOTICE OF APPEARANCE OF MARTIN F. MURPHY

        Martin F. Murphy hereby files his Notice of Appearance for Felicity Huffman.

                                                      Respectfully submitted,

                                                      FELICITY HUFFMAN
                                                      By his attorneys,


                                                      /s/ Martin F. Murphy ___________________
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DATED: March 18, 2019


                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on this 18th day of
March 2019.
                                                        Martin F. Murphy______
                                                        Martin F. Murphy




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